Case 1:14-ml-02570-RLY-TAB Document 22479
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                        IN THE UNITED STATES DISTRICT COURT                               Aug 04, 2022
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


IN RE: COOK MEDICAL, INC., IVC
FILTERS MARKETING, SALES PRACTICES, AND         Case No. 1:14-ml-2570-RLY-TAB
PRODUCT LIABILITY LITIGATION                                  MDL No. 2570
_________________________________________________

This Document Relates to:

Willis, Maynette - 1:16-CV-02185
_________________________________________________

                          NOTICE OF VOLUNTARY DISMISSAL

       COMES NOW, Plaintiff, MAYNETTE WILLIS, by and through her undersigned counsel,

hereby dismiss this case in its entirety, against all defendants, with prejudice, with each party to

bear their own costs.

                                                             FLINT COOPER, LLC

                                                     By:     /s/ Laci M. Whitley        _______
                                                             Laci M. Whitley,
                                                             222 East Park St., Suite 500
                                                             P.O. Box 189
                                                             Edwardsville, Illinois 62025
                                                             (618) 288-4777: telephone
                                                             (618) 288-2864: facsimile
                                                             service@flintfirm.com

                                                             Attorney for the Plaintiff
